             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       BRYSON CITY DIVISION
                CIVIL CASE NO. 2:11-cr-00022-MR-10


UNITED STATES OF AMERICA,        )
                                 )
                   Plaintiff,    )
                                 )
         vs.                     )             ORDER
                                 )
MICHAEL JAMES TAYLOR,            )
                                 )
                   Defendant.    )
________________________________ )

     THIS MATTER is before the Court on the Defendant’s Motion to Seal

[Doc. 452].

     The Defendant, through counsel, moves for leave to file under seal his

motion to vacate filed pursuant to 28 U.S.C. § 2255. For grounds, the

Defendant states that the motion to vacate contains references to matters in

various documents previously filed under seal, including the presentence

investigation report and other sentencing materials. [Doc. 452].

     The press and the public have, under both the First Amendment and

the common law, a qualified right of access to judicial documents and

records filed in civil and criminal proceedings. Doe v. Public Citizen, 749

F.3d 246, 265 (4th Cir. 2014). “The common-law presumptive right of access

extends to all judicial documents and records, and the presumption can be


   Case 2:11-cr-00022-MR-WCM    Document 453   Filed 02/01/16   Page 1 of 2
rebutted only by showing that ‘countervailing interests heavily outweigh the

public interests in access.’” Id. at 265-66 (quoting in part Rushford v. New

Yorker Magazine, Inc., 846 F.2d 249, 253 (4th Cir. 1988)).                The First

Amendment right of access “may be restricted only if closure is ‘necessitated

by a compelling government interest’ and the denial of access is ‘narrowly

tailored to serve that interest.’” Id. at 266 (quoting in part In re Wash. Post

Co., 807 F.2d 383, 390 (4th Cir. 1986)).

      Here, only the memorandum filed in support of the motion to vacate

contains references to information contained in sealed documents [see Doc.

449 at 14-18]; the motion to vacate itself makes no such references [see

Doc. 449 at 1-13]. Accordingly, the Court will allow the Defendant to file the

memorandum in support of his motion to vacate under seal. The motion to

vacate, however, shall be unsealed and made part of the public record.

      IT IS, THEREFORE, ORDERED that the Defendant’s Motion to Seal

[Doc. 452] is GRANTED IN PART and DENIED IN PART. The Clerk is

respectfully directed to unseal the Defendant’s Motion to Vacate [Doc. 449

at 1-13] and file the memorandum in support [Doc. 449 at 14-18] under seal.

      IT IS SO ORDERED.                    Signed: February 1, 2016




                                      2



   Case 2:11-cr-00022-MR-WCM     Document 453         Filed 02/01/16   Page 2 of 2
